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                   Exhibit 19A
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IN CAMERA SUBMISSION
To: Honorable Carl J. Barbier
From: Class Counsel
Matter: In re: Deepwater Horizon
         MDL No. 2179
Subject: Monthly Costs and Revenue
Date: February 18, 2013




               OPPOSITION TO BP’S MOTION FOR RECONSIDERATION 1

        While the precise issue before the Court is a relatively narrow issue of contract

interpretation, two inherent and unchanging dynamics permeate BP’s ever-shifting positions

regarding the proper determination of compensation that is owed to business claimants under the

Settlement Agreement.

        First, BP continues to attempt to overlay and inject a subjective post hoc evaluation of

causation into the carefully negotiated objective formula which the Parties agreed would dictate

which losses would (and would not) be deemed to have been caused by the Spill. After

embracing this concept in its approval papers, and confirming it to the Claims Administrator, BP

then challenged the Claims Administrator’s Supplemental Information Program message on the

basis that it was somehow “misleading” to encourage businesses to make “fraudulent” claims for

damages which BP has agreed would be compensable. When raised before the Court (at the time

of the hearing on non-profit revenue), BP confirmed that once a business satisfied the Causation

requirements, all damages set forth in the Compensation Framework would be deemed to be


        1
          Class Counsel respond herein to the Draft In Camera Motion for Reconsideration and Exhibits provided
to Judge Shushan and Class Counsel by BP on February 3, 2013.


                                                                                                                 1
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caused by the Spill, without any inquiry into potential alternative causation; which agreement

was memorialized in a formal Policy Statement issued by the Court. 2 Before the ink was dry,

however, BP continued to argue to Appeal Panelists that Class Members should not be

compensated under the Compensation Framework where such losses were not (in BP’s view)

caused by the Spill. BP was also pushing for an audience with the Program Accountants, so that

BP could urge them to alter the Compensation Framework where there were “spikes” in revenue;

where product lines had allegedly been discontinued; or in other circumstances where BP could

make the pitch that the compensation reflected under the framework was not, in fact, caused by

the Spill. 3 The Claims Administrator’s Policy Statement, on reconsideration now before the

Court, simply reconfirms BP’s carefully negotiated and prior agreement that, once a business

passed Causation, all compensation captured by the objective Compensation Framework would

be deemed to have been caused by the Spill.

       Second, BP’s current interpretation of the Settlement Agreement would require the

Program to make inquiries and determinations that cannot be done objectively (or otherwise)

based on the documents and other information called for in the Settlement Agreement. Realizing

that its proffered interpretation is unworkable, (or, stated another way, conceding that the

Settlement Agreement was never intended to mean what BP now contends that it means), BP has

offered a number of shifting compromise “solutions” which violate GAAP and completely re-

write the Settlement Agreement. Such compromises call for a “smoothing” or “averaging” of

costs and revenue – an approach that BP, just a few months ago, diametrically and vehemently

opposed. Such proposed compromises would also raise significant Rule 23, Due Process and



       2
           See E-MAIL FROM JUDGE BARBIER RE “MEETING TODAY RE NON-PROFITS AND SIP” (Dec. 12, 2012).
       3
           See, e.g., E-MAIL FROM DAN CANTOR TO MIKE JUNEAU RE “ACCOUNTANT QUESTIONS” (Dec. 11 2012).

                                                                                                        2
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Notice issues, and are particularly suspect as they would apply to only some, but not all,

businesses within the Class. 4

         The re-packaged arguments in BP’s February 3rd Draft Motion for Reconsideration rest

on basic flaws and fallacies:


    •    The interpretation at issue is not “Class Counsel’s” interpretation. It is the
         independent, neutral and correct interpretation of the Claims Administrator. 5 It is the
         interpretation espoused and promoted by both Parties, and BP’s own experts, during the
         approval process. 6 It is the interpretation drawn, and relied upon, by Class Members, and
         their attorneys and CPAs. 7


    •    The Settlement Agreement does not result in payments to businesses that are not
         Class Members. The Class includes businesses located within the Gulf Coast Area who
         “meet the description” of the Business Economic Loss Damage Category Framework, 8 as
         objectively spelled out in Exhibits 4A-4C. All of the entities at issue are located within
         the Gulf Coast Area (as defined by BP in the Settlement Agreement) and meet the
         description of those businesses entitled to compensation under Exhibits 4A–4C.


    •    The Settlement Agreement defines businesses who lost profits, income and/or
         earnings “as a result of” the Spill as those businesses who meet the objective
         Causation requirements set forth in Exhibit 4B. And all losses set forth in Exhibit 4C




         4
           BP advised, for the first time, on February 15, 2013, that it was now pushing to have its latest proposal
applied to all types of Business Economic Loss claims, (not just professional service, construction and agricultural
claims). However, as we understand it, the “matching” of costs and/or “smoothing” of revenue would only apply to
those claims that set off a certain “trigger”.
         5
             See Claims Administrator’s ANNOUNCEMENT OF POLICY DECISIONS (Jan. 15, 2013).
         6
          See, e.g., JOINT PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW IN SUPPORT OF FINAL
APPROVAL [Doc 7945], at ¶126, p.39; BP’S MEMORANDUM IN SUPPORT OF FINAL APPROVAL [Doc 7114-1], at p.33;
quoting, DECLARATION OF HOLLY SHARP [Doc 7441-18], p.10, ¶17; see also, HENLEY DECLARATION [Doc 7114-
11], pp.24-25, ¶31; FISHKIND DECLARATION [Doc 7441-5], p.10, ¶31.
         7
           See, e.g., AFFIDAVIT OF HAROLD ASHER (Jan. 15, 2013) ¶¶ 4-5, 9-10, 17; DECLARATION OF RICK STUTES
(Jan. 17, 2013) ¶¶ 4-6, 8-9, 13-14; SUPPLEMENTAL DECLARATION OF ALLEN CARROLL (Feb. 18, 2013), ¶¶ 2, 4;
DECLARATION OF GEORGE PANZECA (Feb. 18, 2013), ¶¶ 3, 12, 23, 26; DECLARATION OF ROBERT WALLACE (Feb.
18, 2013), ¶¶ 1, 9-12; see also, e.g., E-MAIL FROM MARY BETH MANTIPLY (Feb. 16, 2013).
         8
             See SETTLEMENT AGREEMENT, Sections 1.3 and 1.3.1.


                                                                                                                       3
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       are then conclusively presumed to be caused by the Spill, without any inquiry into
       possible alternative causes. 9


   •   The Settlement Agreement specifically contemplates that entities who made more
       money in 2010 than in 2007-2009 might be entitled to compensation. Indeed, the Step
       Two Compensation element is specifically designed to compensate the business for what
       would have been earned but-for the Spill, irrespective of the actual comparison of 2010
       to 2007-2009 earnings. 10


   •   The Settlement Agreement does not make arbitrary or unfair distinctions between
       similarly situated Class Members. The Settlement Agreement takes all Class Members
       as it finds them, and subjects them to the same uniform class-wide objective formula,
       based on the same set of documentation requirements. As a practical matter, businesses
       of the same size and nature will generally maintain their books in the same way. But, in
       any event, the “disparate treatment” (if any) to which BP alludes is not found anywhere
       in the Settlement Agreement; rather, it is the result of a current administrative
       interpretation advanced by BP.


   •   BP completely ignores its own express agreement that the Claims Administrator is
       required to interpret the Class Member’s financials in a way that maximizes the
       Claimant’s recovery. BP expressly agreed that: “The Claims Administration Vendors
       shall evaluate and process the information in the completed Claim Form and all
       supporting documentation under the terms in the Economic Damage Claim Process to
       produce the greatest Economic Damage Compensation Amount that such information
       and supporting documentation allows under the terms of the Economic Damage Claim
       Framework.” 11




       9
          See LETTER FROM MARK HOLSTEIN TO PATRICK JUNEAU (Sept. 28, 2012) (re: Issues Raised by Class
Counsel or Settlement Program); JOINT PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW IN SUPPORT OF
FINAL APPROVAL [Doc 7945], at ¶126, p.39; BP’S MEMORANDUM IN SUPPORT OF FINAL APPROVAL [Doc 7114-1], at
p.33; DECLARATION OF HOLLY SHARP [Doc 7441-18], p.10, ¶17; ANNOUNCEMENT OF POLICY DECISIONS
REGARDING CLAIMS ADMINISTRATION (Oct. 10, 2012), No.2; E-MAIL FROM JUDGE BARBIER RE “MEETING TODAY
RE NON-PROFITS AND SIP” (Dec. 12, 2012).

       10
            See generally, SETTLEMENT AGREEMENT, Compensation Framework, Step 2 (Exhibit 4C).
       11
            SETTLEMENT AGREEMENT, Section 4.3.8 (emphasis supplied).


                                                                                                     4
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        BP could have, but did not, limit the class geography. BP could have, but did not, insist

upon the exclusion of agriculture, construction and professional service industries. BP could

have, but did not, attempt to place a limit or cap on the total BEL payouts. BP could have, but

did not, insist (or even suggest) that underlying cash basis monthly financials could not be

submitted. 12 BP could have, but did not, insist (or even suggest) that Causation not be extended

to businesses with greater variable profit in 2010 than in 2007-2009. BP could have, but did not,

insist (or even suggest) that an alternative framework be applied to agriculture, construction and

professional service industries.

        This Motion for Reconsideration is nothing more than another post hoc attempt by BP to

introduce a subjective causation element that would deny recovery to Class Members whom BP

had previously agreed had, by objective criteria, been injured as a result of the Spill.

        For these reasons, and for the reasons further outlined below, BP’s Motion for

Reconsideration should be denied.




        12
            Indeed, BP emphasized the importance of relying on monthly profit and loss statements (and/or other
financial records) as they were prepared and maintained in the ordinary course of business. See, e.g., SETTLEMENT
AGREEMENT, Exhibit 4A; see also, e.g., LETTER FROM MARK HOLSTEIN TO PATRICK JUNEAU (Sept. 28, 2012) (re:
Sept. 25th Policy Announcements), p.2 (Monthly P&Ls or alternate source documents establishing monthly revenues
and expenses “are essential to implementing the BEL frameworks’ methodology of evaluating causation and
damages based on the actual monthly financial experience of claimants”).

                                                                                                               5
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BP’s Motion for Reconsideration Presents Nothing New

        There is nothing new in BP’s Motion for Reconsideration. Rather, BP continues to push

for subjective inquiries into alternative causation, (despite the Court’s formal Policy Statement of

December 12, 2012), essentially re-hashing the same arguments it made to the Claims

Administrator in its original submission of January 8, 2013. On the eve of the Hearing before

Your Honor, (despite indication from the Court that it did not require additional briefing), BP

submitted hundreds of pages of additional materials, including three declarations from experts

(who BP did not rely upon in support of settlement approval), as well as a lengthy powerpoint,

premised on the very same arguments. Now, BP submits five new expert declarations which,

again, simply re-hash or expand upon the same arguments that were made by BP to the Claims

Administrator. 13 All of the arguments and other information presented have been available to

BP, who has had a full and fair opportunity to try to convince the Claims Administrator and/or

the Court to re-write the Settlement Agreement based on consequences that were, or certainly

should have been, foreseeable to BP from the outset. 14


The Four Corners of the Settlement Agreement Confirm that the Claims Administrator’s
Interpretation of “Variable Profit” is Correct and Reflects the Intent of the Parties

        The Compensation Framework for Business Economic Loss (BEL) claims found in

Exhibit 4C of the Settlement Agreement defines the term “Variable Profit” as follows:

                 Variable Profit: This is calculated for both the Benchmark Period and the
                 Compensation Period as follows:
                    1. Sum the monthly revenue over the period
                    2. Subtract the corresponding variable expenses from revenue over the same
                        time period.

        13
          Class Counsel refer to the Draft In Camera Motion for Reconsideration and Exhibits provided to Judge
Shushan and Class Counsel by BP on February 3, 2013.
        14
           As noted by BP in a letter to the Claims Administrator dated September 28, 2012: “‘false positives’ are
an inevitable concomitant of an objective quantitative data-based test.”


                                                                                                                     7
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       The fundamental question for the Court is whether the term “corresponding” instructs (as

the Claims Administrator found) the Program to subtract the variable expenses that are recorded

“over the same time period” as the revenue is recorded; or, on the other hand, instructs (as BP

contends) the Program to attempt to “match” the variable expenses (whenever incurred) to the

revenue that is “earned” over the same time period (based on when the relevant work was

performed or “business activity” conducted).

       The Claims Administrator’s correct interpretation is supported by:

       1. The language used throughout Exhibit 4C consistently and uniformly “corresponds” –
          i.e. “compares” – revenue and expenses experienced during the same time periods.

       2. When read together with the Documentation provisions set forth in Exhibit 4A, it is
          clear that the Program was to focus on monthly revenue and expenses experienced or
          recorded contemporaneously during the Benchmark Period and Compensation Period.

       3. The Examples contained within the Settlement Agreement reflect a comparison of the
          revenue and expenses recorded during the Benchmark Period and the Compensation
          Period.

       4. The Expert Declarations and Briefs submitted by BP in support of final approval of
          the Settlement refer to expenses and revenue over the same comparable time periods.

       5. A Memorandum prepared by BP’s counsel towards the end of the negotiations directs
          that costs and revenue recorded during the relevant Benchmark and Compensation
          Period months be compared to one another, without any indication that the
          Compensation Framework would require the Program to average revenue across the
          entire time period it might have been “earned” or “match” the variable expenses to
          the revenue that was earned during the Benchmark or Compensation Period.

       6. The powerpoint presentation prepared by the Program and presented to the Appeal
          Panelists in August without objection by BP defines “Variable Profit” as the sum of
          monthly revenue minus variable expenses from revenue “over the same time period”.

       7. The position taken by BP in response to the Claims Administrator’s inquiry regarding
          the necessity of monthly profit and loss statements emphasized the BEL Frameworks’
          focus on monthly revenue and expenses actually experienced during the Benchmark
          and Compensation Periods in question.




                                                                                                  8
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        8. Despite the exchange of numerous Examples during negotiations, BP never suggested
           that the Compensation Framework be applied in the manner BP is now suggesting.

        9. With respect to the Test Claims provided by the Parties to the Program, BP never
           suggested that the Compensation Framework be applied to those Test Cases in the
           manner BP is now suggesting.

        10. Although neither BP’s current interpretation nor its proposed compromise “solutions”
            adhere to Generally Accepted Accounting Principles, it is clear that the parties did not
            intend to incorporate GAAP definitions of “Variable Profit” or other terms, as
            evidenced by the formal amendment of the Settlement Agreement to eliminate the
            requirement of CPAs to certify that the claims were submitted in conformity with
            GAAP in order to qualify for the Accountant Reimbursement Compensation.

        These points, combined with the Parties’ emphasis on uniform and objective application

of the Settlement Frameworks, make it clear that the Claims Administrator’s interpretation and

application of the Settlement Agreement was and is the correct one.


General Rules of Maritime Contract Interpretation 15

        Interpretation of maritime contracts generally follows the same principles applied to other

contracts under the common law of the various states. See Fontenot v. Mesa Petroleum Co., 791

F.2d 1207, 1241 (5th Cir. 1986). One difference from Louisiana law, however, is that “a court

may not look beyond the written language of the document to determine the intent of the parties

unless the disputed contract provision is ambiguous.” Corbitt v. Diamond M. Drilling Co., 654

F.2d 329, 332-33 (5th Cir. 1981); see also Spectrum Communication Specialists, L.L.C. v. KMJ

Servs., Inc., No. 09-159, 2011 U.S. Dist. LEXIS 135348 (E.D. La. (Nov. 23, 2011) (quoting Atl.

Lines, Ltd. v. Narwhal Ltd., 514 F.2d 726, 730 (5th Cir. 1975)).




         15 Section 36.1 of the Settlement Agreement provides that “this Agreement . . . shall be interpreted in

accordance with General Maritime Law,” but none of the cases BP cited in its Jan. 24, 2013 in camera PowerPoint
involved admiralty contracts. The two cases cited in BP’s February 3, 2013 Draft Motion for Reconsideration are
also decided under Louisiana law.


                                                                                                                   9
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       A maritime contract “should be read as a whole,” Fontenot, 791 F.2d at 1214, and

“[w]ords should be given their plain meaning unless the provision is ambiguous,” Weathersby v.

Conoco Oil Co., 752 F.2d 953, 955 (5th Cir. 1984). Further, the Court should “interpret, to the

extent possible, all the terms in a contract without rendering any of them meaningless or

superfluous.” Chembulk Trading LLC v. Chemex Ltd., 393 F.3d 550, 555 (5th Cir.2004); see also

Am. Roll-On Roll-Off Carrier, LLC v. P & O Ports Baltimore, Inc., 479 F.3d 288, 293 (4th Cir.

2007); RESTATEMENT (Second) OF CONTRACTS §203(a) & Comment b.

       If a contract “is found to be ambiguous, the determination of the parties’ intent through

extrinsic evidence is a question of fact, and deference is due the determination of the district

court.” Butterfly Transp. Corp. v. Bertucci Indus. Services LLC, 243 F. App'x 16, 19 (5th Cir.

2007); Hidden Oaks Ltd. v. City of Austin, 138 F.3d 1036, 1048 (5th Cir.1998).


The Variable Profit Definition and Other Terms of the BEL Compensation Framework
Are Clear and Unambiguous.

       The term “corresponding variable expenses” as used in the definition of “Variable Profit”

within Exhibit 4C clearly refers to the variable expenses that correspond to “the same time

period”, (not to the variable expenses that might or might not “correspond” to the revenue).

       Throughout the Compensation Framework, the Program is directed to “correspond” or

compare the revenue and expenses experienced during the relevant Benchmark and

Compensation Periods:

               Step 1 – Compensates claimants for any reduction in profit between the 2010
               Compensation Period selected by the claimant and the comparable months of the
               Benchmark Period. Step 1 compensation reflects the reduction in Variable Profit
               (which reflects the claimant’s revenue less its variable costs) over this period.

               Step 2 – Compensates claimants for incremental profits or losses the claimant
               might have been expected to generate in the absence of the spill relative to sales


                                                                                                    10
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                 from the Benchmark Period. 16 This calculation reflects a Claimant-Specific Factor
                 that captures growth or decline in the prespill months of 2010 compared to the
                 comparable months of the Benchmark Period and a General Adjustment Factor.

                                                         *     *     *

                 Variable Profit: This is calculated for both the Benchmark Period and the
                 Compensation Period as follows:
                    1. Sum the monthly revenue over the period
                    2. Subtract the corresponding variable expenses from revenue over the same
                       time period.

                                                         *    *     *

                 Fixed and Variable Payroll Expenses: Fixed and Variable Payroll Expenses are
                 calculated based on the understanding that every business must operate with a
                 minimum core staff and are defined using monthly profit and loss statements
                 and/or those documents listed in the Documentation Requirements for Business
                 Claims, for May through December 2010...

                                                         *     *     *

                 Incremental Revenue: Incremental revenue shall be calculated as (i) the
                 claimant’s revenue in a claimant-selected period of six, seven or eight consecutive
                 months (as set forth in Step 2 below) between May and December of the years
                 selected by the claimant to be included in the Benchmark Period, multiplied by
                 (ii) the Claimant-Specific Factor and the General Adjustment Factor.

        Similarly, in the Addendum to Exhibit 4C, which explains the relationship between the

selected Benchmark Periods for Causation and/versus Compensation purposes, the focus is on

the revenue and expenses experienced during the months within the Claimant-selected

Benchmark and Compensation Periods:

                    …a claimant is not required to use the same months in the Benchmark Period
                 for purposes of establishing causation pursuant to Ex. 4B and determining
                 compensation pursuant to Ex. 4C.



        16
            BP exaggerates the import of this sentence and takes it out of context. The language describes what the
calculation is intended and agreed to have accomplished for purposes of the Agreement, not an invitation to debate
what profit “might have been” absent the spill. Indeed, such a subjective analysis would render the remainder of the
Framework meaningless. BP’s attempt to use this language is also contrary to the principle that “specific terms and
exact terms are given greater weight than general language.” RESTATEMENT (Second) OF CONTRACTS §203(c).

                                                                                                                 11
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                                             *    *    *

              …. After establishing causation, however, the claimant may select a different 3 or
              more consecutive months between May and December 2010 in determining
              compensation….


       Finally, the specific Examples contained within the Addendum to the Compensation

Framework, Exhibit 4C, further confirm that the Program is to “compare” the revenue and costs

experienced during the relevant months within Benchmark and Compensation Periods:

              Scenario 1:
               ….
              2) In determining Compensation, Claimant would be allowed to select the months
              of August through November 2010 as compared to the months of August through
              November in either 2009, 2008-2009 or 2007-2009 as the Benchmark years –
              whichever provides the highest compensation.

              Scenario 2:
               ….
              2) In determining compensation, Claimant could select the months of May-
              September 2010 as compared to the months of May-September in either 2009 or
              2008-2009 – whichever provides the highest compensation.

              Scenario 3:
               ….
              2) In determining compensation, Claimant could select the months of May-
              December 2010 as compared to the months of May-December in either 2009 or
              2007-2009 – whichever provides the highest compensation.


       Nowhere in these Examples – nor anywhere within the Compensation Framework – is

there any suggestion that the Program Vendors should undertake any effort to “match” revenue

received during the Benchmark or Compensation Periods to variable expenses incurred outside

of those time periods; nor to determine when such revenue, and/or other revenue recorded




                                                                                              12
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outside of those time periods, was or was not “earned” by the claimant; 17 nor to “average” or

“smooth” any “spikes” in revenue into or out of those time periods. 18

         It should also be noted that the Compensation Framework requires that the Benchmark

and Compensation Periods be a minimum of three months duration. This demonstrates that the

parties considered the potential for “anomalies” from too short a snapshot and agreed on how to

approach that possibility. 19


The Agreement, Read as Whole, Confirms that Claims Administrator’s Interpretation of
the BEL Compensation Framework is Correct and Reflects the Intent of the Parties.

         The Documentation provisions contained within Exhibit 4A make it clear that the

Program’s analysis is to be based on revenue and expenses during the relevant periods chosen by

the claimant, as reflected in historical business records. Specifically, the Framework requires:

                  Monthly and annual profit and loss statements (which identify individual expense
                  line items and revenue categories), or alternate source documents establishing
                  monthly revenues and expenses for the claimed Benchmark Period, 2010 and, if
                  applicable, 2011. 20

         17
           Note that the definition of Variable Profit does not include the word “earned”; rather, the Agreement
speaks of revenue “over the [same time] period”. BP does not dispute that all revenue earned (or booked or
experienced or recorded or received) during the Benchmark and Compensation Periods must be considered; it
merely seeks to redefine “revenue” and “earned” in novel ways that are not recognized under any accounting
methodology.
         18
           BP attempts to fundamentally change the agreement from inputting “revenue over” the relevant period to
instead making a subjective analysis of the economic value of the “business activity” occurring during that period.
See POLINSKY DECLARATION (Feb. 2, 2013).
         19
             See, e.g., FISHKIND DECLARATION (submitted by BP in support of Final Approval) [Doc 7114-5], p.31,
¶87 (“the requirement that the Benchmark and Compensation periods used to measure decline and recovery be
measured over at least 3 months is a reasonable means of ensuring that the data reflect a genuine trend in economic
performance and not just routine month-to-month variation that any business can expect even absent any unusual
event”); HENLEY DECLARATION (submitted by BP in support of Final Approval) [Doc 7114-11], p.22, ¶30(b) (“The
three month minimum period is a reasonable requirement because it eliminates the risk that normal month-to-month
variations in business performance are not mistaken for a trend of declining performance due to the DWH Spill”).
         20
            SETTLEMENT AGREEMENT, Exhibit 4A, ¶4 (emphasis supplied). See also, SETTLEMENT AGREEMENT,
Section 38.38 (“‘Contemporaneous’ or ‘Contemporaneously prepared’ records or documentation shall mean
documents or other evidence generated or received in the ordinary course of business at or around the time period to
which they relate; in the case of financial statements, this shall include all periodic financial statements regularly
prepared in the ordinary course of business. In addition, ‘contemporaneous’ or ‘contemporaneously’ prepared

                                                                                                                   13
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         If, as BP now suggests, the Program were intended to consider when the “business

activity” related to the contemporaneously recorded monthly revenue may or may not have been

conducted (i.e. when, under BP’s proffered interpretation and/or proposed compromises, the

revenue may have been “earned”), and/or when the variable expenses “matched” to the revenue

may have been and/or might in the future be incurred, the Program would potentially need to

consider financials that pre-date the Benchmark Period and/or post-date the Compensation

Period, and even 2011. The Program would also have to solicit potentially infinite explanations

and/or documents from the Claimant – well beyond the agreed-to BEL Claims Form and Exhibit

4A – to attempt to determine when such revenue contemporaneously recorded during the

Benchmark and/or Compensation Periods was actually (according to BP) “earned” and/or the

variable expenses to which the revenue (according to BP) “matches” or “corresponds”.

         Where the Parties intended certain revenues to be excluded, they said so explicitly. For

example, the framework expressly excludes VoO revenue from the Step 2 (growth factor)

calculation, and specifically explains how to address VoO payments if they are not separately

broken out in the documentation submitted.21

         Not only does BP’s current interpretation logically lead to an inquiry into pre-Benchmark

and post-2011 documentation, but BP’s proposed “solution” contemplates smoothing not only




evidence or documentation, even if not proximate in time to the event or occurrence to which it relates, shall include
(1) documentation that is based on or derived from other data, information, or business records created at or about
the time of the event, occurrence or item in question, (2) a statement that is consistent with documentation created at
or about the time of the event, occurrence or item in question, or (3) would support a reasonable inference that such
event, occurrence, or other item in question actually occurred”).

         21
              SETTLEMENT AGREEMENT, Exhibit 4C, at p.4.


                                                                                                                    14
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across months of one year but across several years, indicating that documents for additional

years would be required. 22

          Moreover, it should be noted that Exhibit 4A does provide that additional documents are

required for certain industries, showing that the Parties knew how to do that where it was

contemplated.

          If “matching” revenue and expenses were required to properly determine causation for

purposes of the Agreement, the Causation Framework would take expenses into account. It does

not. 23

          The Claims Administrator’s interpretation is further supported by:

                    Section 5.3.2.1 (and Exhibits 5-7): Specialized Business Frameworks developed
                    to account for particular types of business claims. This demonstrates that the
                    Parties knew how to do that, and, where appropriate to employ a different
                    methodology, negotiated one.

                    Section 4.4.7: Within each claim category, documentation, proof, and
                    compensation requirements were intended to apply equally to all parties. BP’s
                    current proposal would result in two different methods of calculating the BEL
                    compensation amount.

                    Sections 4.3.7 and 4.3.8: Claimant-friendly provisions, which are intended to
                    ensure that the business is awarded the highest level of compensation dictated by
                    the Benchmark and Compensation Period documentation.

          Finally, the Settlement Agreement was specifically amended to delete the requirement

that accounting professionals seeking reimbursement for their services sign and attest that they

have submitted information “in compliance with generally accepted accounting principles.” 24


          22
           See, e.g., OUSTALNIOL SUPPLEMENTAL DECLARATION (Feb. 2, 2013), ¶9 (stating that BP’s approach
would not require recognition of contingent revenue because “we are in 2013” so the revenue would be “no longer
contingent and can be reallocated to measure performance”; yet also noting that there will be “exceptions”).
          23
               See SETTLEMENT AGREEMENT, Exhibit 4B.
          24
           Compare Section 4.4.13.4 in the original Settlement Agreement [Doc 6276-1] (April 18, 2012), with,
Section 4.4.13.4 within AMENDMENT NO. 1 [Doc 6414-6] (May 2, 2012).


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After the initial filing of the Agreement, numerous CPAs advised the Parties that they could not

make such a certification, as the Settlement Agreement Frameworks specifically called for

deviations from GAAP, and, acknowledging this, BP agreed to revise the certification. 25

         With respect to the Class Definition, BP takes loss of income, earnings or profits suffered

“as a result of the Deepwater Horizon Incident” (Section 1.3.1.2) out of context, without due

regard for the preface that their claims only “meet the description” of such “Damage Category”

(Section 1.3), which incorporates the specific BEL Compensation Frameworks “described in the

attached Exhibits 1A-15” (Section 1.3.1).

         The Class Definition, in this way, is not intended to include only those people or

businesses who, by some vague and subjective standard, might be able to prove losses arising

from the Spill at trial.

         Rather, it is intended to objectively describe damage categories (including business

economic loss) which meet the descriptions of objective Frameworks, such as Exhibits 4B and

4C. Indeed, the Settlement Agreement itself defines those businesses who lost profits, income

and/or earnings “as a result of” the Spill as those businesses who meet the objective Causation

requirements set forth in Exhibit 4B. And then further defines those losses “as a result of” the

Spill in terms of the Compensation that is set forth in Exhibit 4C.

         The definition of “Economic Damage” includes “loss of profits, income and/or earnings

arising in the Gulf Coast Areas or Specified Gulf Waters allegedly arising out of, due to,



         25
              Of course, BP’s current expert, Mr. Oustalniol, concedes that there is no specific definition of “variable
profit” in GAAP. See OUSTALNIOL SUPPLEMENTAL DECLARATION (Feb. 2, 2013), at ¶26. Moreover, the
“matching” that BP alludes to has been called into question, and is in no way required with respect to books
maintained on a Cash Basis. Nor are the proposed compromise “solutions” set forth by BP GAAP compliant; in
fact, (to the extent we understand their ever-changing proposals), applying BP’s current suggestion to books
maintained (in compliance with GAAP) on an Accrual Basis would be modified in such a way that they would no
longer be GAAP compliant.


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resulting from or relating in any way to, directly or indirectly, the Deepwater Horizon

Incident.” 26

        “Claim” is defined as simply “any demand or request for compensation (other than

Bodily Injury Claims or Expressly Reserved Claims), together with any properly completed form

and accompanying required documentation, submitted by a claimant to the Settlement

Program.” 27

        All of the contractual provisions, when read together, dictate that the Claims

Administrator’s focus on revenue and expenses actually recorded during the relevant Benchmark

and Compensation Periods is correct and reflects the intent of the Parties.


What BP Did Not Do and What the Settlement Agreement Does Not Say

        BP could have, but did not, limit the class geography. 28

        BP could have, but did not, attempt to place a limit or cap on total BEL recoveries. 29

        BP could have, but did not, seek to exclude agriculture, construction or professional

service industries. 30

        BP could have, but did not, insist (or even suggest) that an alternative framework be

applied to agriculture, construction or professional service industries.




        26
             See SETTLEMENT AGREEMENT, Section 38.57 (emphasis added).
        27
             SETTLEMENT AGREEMENT, Section 38.19.
        28
             See SETTLEMENT AGREEMENT, Sections 1.1, 1.2 and 38.80 (defining “Gulf Coast Area”).
        29
         See, e.g., SETTLEMENT AGREEMENT, Sections 5.2.1 and 38.130 (defining the “Seafood Compensation
Program Amount” as $2.3 billion).
        30
           See, e.g., SETTLEMENT AGREEMENT, Section 2.2.4 (excluding Banks, Casinos, Real Estate Developers,
and other types of businesses and industries).


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        The Settlement Agreement does not prohibit the submission or consideration of Cash

Basis monthly profit and loss statements, nor does the Settlement Agreement require the

submission of financial statements that are prepared on an Accrual Basis. 31

        The Settlement Agreement’s Causation Framework does not deny eligibility to

businesses that made more money in 2010 than they did in 2007-2009. 32

        The Settlement Agreement’s Compensation Framework does not say anything about

“matching” profit to revenue, nor “smoothing” revenue, nor inquiring into when revenue was

“earned” based on work performed or other “business activity”.


There Are No “Absurd” Results from the Straightforward Application of the Agreement
Previously Upheld by the Court.

        BP claims “absurd” results in the form of “fictitious” losses or losses not resulting from

the spill. As Polinsky acknowledges in his declaration on BP’s behalf, “in a class action

payments to claimants would not perfectly match economic losses in every instance.” 33 BP

agreed to make the Settlement Payments to buy peace through a global classwide settlement.

The settlement of business economic claims is uncapped, and BP went into it knowing that there

would be some element of uncertainty regarding what it might ultimately be obligated to pay.

        BP’s prime complaint appears to be that application of the Compensation Framework that

BP agreed to produces “anomalies” that only inure to the Claimant’s favor. Even assuming
        31
          See SETTLEMENT AGREEMENT, Exhibit 4A and Section 38.38; see also, Claims Administrator’s REVIEW
AND CLARIFICATION OF SELECTED POLICY STATEMENTS (Oct. 8, 2012). Indeed, BP took the position that every
Claimant must provide contemporaneously prepared monthly P&Ls, (even where re-stating to accrual). See LETTER
                                                                   th
FROM HOLSTEIN TO CLAIMS ADMINISTRATOR (Sept. 28, 2012) (re Sept 25 Announcement of Policy Decisions), at
p.3.
        3232
           See generally, SETTLEMENT AGREEMENT, Causation Framework (Exhibit 4B); see also, Compensation
Framework (Exhibit 4C).
        33
            POLINSKY DECLARATION (Feb. 2, 2013), p.5 n.8. See also, LETTER FROM MARK HOLSTEIN TO PATRICK
JUNEAU (Sept. 28, 2012) (re: Issues Raised by Class Counsel or Settlement Program) (“‘false positives’ are an
inevitable concomitant of an objective quantitative data-based test”).


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arguendo that this is the case, the real issue is not accounting methodology, but the Claimant’s

right to choose the Compensation and Benchmark Periods. It’s this choice that’s generally cited

as the reason anomalies would be one-sided. Yet there can be no dispute that such flexibility

was intended. Indeed, BP expressly agreed that if the Claimant made the wrong choice, (or no

choice), the Settlement Program would maximize the claim. 34 BP’s proposal seems geared to

take away the benefit of those provisions, not to apply any recognized or legitimate accounting

method.

       Moreover, BP’s examples appear cherry picked, and the proponents of the declarations

typically stop short of saying that even these examples “definitely” exhibit the flaws they

describe. Instead, the opinions are couched in terms of what “likely” happened.

       Any sampling of submitted claims will be skewed since those claimants who fail to pass

causation or receive only nominal compensation will have opted out of the Class Settlement or

simply not waste their time submitting a claim.

       One way that BP benefits from the Frameworks is that spill-related revenues, (even those

that could have been earned on top of normal business activity had it not been interrupted), are

included in the Causation Framework (Exhibit 4B) and the Step 1 Compensation Calculation

(Exhibit 4C). For example, a restaurant that bought additional equipment and paid additional

staff to do catering for clean-up workers, without reducing its regular business efforts, may have

been negatively affected under the Settlement Frameworks by the short-term influx of BP capital

such that it might not pass causation.

       At the end of the day, all of BP’s examples and complaints are predicated on the

argument that, according to some type of vague and subjective notions, the business in question

did not suffer losses caused by the Spill. Irrespective of how painted, such an “alternative cause”
       34
            SETTLEMENT AGREEMENT, Section 4.3.8.

                                                                                                   19
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inquiry is foreclosed by the entire nature and structure of the objective, mechanical, class-wide

Settlement Agreement.


BP Clearly Agreed that Businesses Who Met Causation Would Recover the Full
Compensation Outlined in the Settlement Agreement as Deemed and Presumed to Arise
From the Deepwater Horizon Incident, and without Any Inquiry Into Potential Alternative
Causation

        In support of its Motion for Final Settlement Approval, BP submitted the Declaration of

Holly Sharp, in which both BP and its expert confirmed that:

                   Once a business meets the causation requirements, for purposes of quantifying
                   causation, all revenue and variable profit declines during the claimant-selected
                   compensation period are presumed to be caused by the spill, with no analysis
                   required to determine whether the declines might have been due, at least in part,
                   to other causes. 35

        BP, at that time, also submitted the Declaration of Henry Fishkind, who similarly noted

that:

                   …projected earnings during a Claimant-selected post-DWH spill compensation
                   period are compared to actual earnings during that period and the difference is
                   deemed a compensable loss. 36

        Then BP’s Counsel, in a letter to the Claims Administrator dated September 28, 2012,

reiterated that:

                   One of the cornerstones of the Settlement Agreement is the use of transparent,
                   objective, data-driven methodologies designed to apply clearly-defined standards
                   to a claimant’s contemporaneously-maintained financial data submitted in
                   compliance with documentation requirements. These methodologies and
                   requirements were carefully negotiated by the parties and are set forth in the
                   Settlement Agreement as mandatory requirements. Among other reasons, these
                   methodologies and requirements were negotiated in response to concerns voiced
                   by some that the prior GCCF process was too dependent on accounting judgments
                   that were not transparent.

        35
          DECLARATION OF HOLLY SHARP [Doc 7441-18], p.10, ¶17; quoted in, BP’S MEMORANDUM IN SUPPORT
OF FINAL APPROVAL [Doc 7114-1], at p.33, (emphasis supplied).

        36
             DECLARATION OF HENRY FISHKIND [Doc 7441-5], p.10, ¶31 (emphasis supplied).


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                          ….The Settlement Agreement does not allow for the use of professional
                   judgment or discretion as a substitute for expressly articulated standards or
                   requirements…. 37

        Around the same time, Mike Juneau, on behalf of the Claims Administrator, had posed

the following inquiry to the parties:

                   As to BEL claims, once a claimant’s financial records satisfy the causation
                   standards set out in Exhibit 4B, does the Settlement Agreement mandate and/or
                   allow the Claims Administrator to separate out losses attributable to the oil spill
                   vs. those that are not? Stated another way, once a claimant passes the causation
                   threshold, is the claimant entitled to recovery of all losses as per the formula set
                   out in Exhibit 4C, or is some consideration to be given so as to exclude those
                   losses clearly unrelated to the spill?

                   I will give a hypothetical situation to try to illustrate the question we are asking:

                   Hypo: A small accounting corporation / firm is located in Zone B. They meet the
                   “V-shaped curve” causation test. The explanation for the drop in revenue is that
                   one of the three partners went out on medical leave right around the time of the
                   spill. Their work output, and corresponding income, thus went down by about a
                   third. The income went back up 6 months later when the missing partner returned
                   from medical leave. Applying the compensation formula under Exhibit 4C of the
                   Settlement Agreement, the accounting firm can calculate a fairly substantial loss.
                   Is that full loss recoverable? 38

        In response to the question and hypothetical, BP confirmed that:

                   If proper application of the methodology with accurate financial data yields a
                   determination that causation is satisfied, BP agrees with Class Counsel that all
                   losses calculated in accordance with … Exhibits 4C … of the Settlement
                   Agreement are presumed to be attributable to the Oil Spill.

                                                   *    *    *

                   ….If the accurate financial data establish that the claimant satisfies the BEL
                   causation requirement, then all losses calculated in accord with Exhibit 4C are
                   presumed to be attributable to the Oil Spill.


        37
         LETTER FROM MARK HOLSTEIN TO PATRICK JUNEAU (Sept. 28, 2012) (re: Sept. 25th Policy
Announcements), p.1.
        38
             E-MAIL FROM MIKE JUNEAU TO PARTIES (Sept. 25, 2012).


                                                                                                           21
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                          Nothing in the BEL Causation Framework (Ex. 4B) or Compensation
                  Framework (Ex. 4C) provides for an offset where the claimant firm’s revenue
                  decline (and recovery, if applicable) satisfies the causation test but extraneous
                  non-fictional data indicate that the decline was attributable to a factor wholly
                  unrelated to the Oil Spill. Such “false positives” are an inevitable concomitant of
                  an objective quantitative, data-based test. 39


        Based on BP’s response, the Claims Administrator issued a formal Policy Statement on

October 10, 2012, further confirming that there would be no inquiry into potential “alternative

causes” of the claimant’s losses. 40

        Several weeks later, in the Joint Proposed Findings, the Parties again confirmed that:

                  Once the causation tests are satisfied, all revenue and variable profit declines
                  during the Compensation Period are presumed to be caused entirely by the spill,
                  with no analysis of whether such declines were also traceable to other factors
                  unrelated to the spill. 41

        When BP, nevertheless, came back and argued that Mr. Juneau’s Supplemental

Information Program spot was “misleading” because claims for losses which (in BP’s subjective

opinion) were not caused by the Spill were (allegedly) “fraudulent”, the Claims Administrator

requested the Court to confirm, in a formal Court-Approved Policy Statement, that the

Settlement Agreement’s Compensation Framework would be applied as written. 42

        BP is an extremely sophisticated party, represented throughout the negotiations by

preeminent lawyers from distinguished firms such as Kirkland & Ellis, Arnold & Porter, and

SRDenton, as well as an army of economic and accounting experts and consultants who were

crunching the numbers at every turn. Despite the Settlement’s clear focus on the uniform

        39
           LETTER FROM MARK HOLSTEIN TO PATRICK JUNEAU (Sept. 28, 2012) (re: Issues Raised by Class
Counsel or Settlement Program), at pp.1,3 (emphasis supplied).
        40
             ANNOUNCEMENT OF POLICY DECISIONS REGARDING CLAIMS ADMINISTRATION (Oct. 10, 2012), No.2.
        41
           JOINT PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW IN SUPPORT OF FINAL APPROVAL [Doc
7945], at ¶126, p.39 (emphasis supplied).
        42
             E-MAIL FROM JUDGE BARBIER RE “MEETING TODAY RE NON-PROFITS AND SIP” (Dec. 12, 2012).

                                                                                                       22
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application of an objective quantitative data-based test, BP’s current argument is nothing more

than an attempt to reintroduce some vague and subjective notion of “alternative causation”. The

“absurdities” that BP complains of are nothing more than the (arguable) “false positives” that

were, or certainly should have been, foreseeable to BP and its team from the beginning.


To the Extent the Settlement Agreement Could be Considered Ambiguous, the Extrinsic
Evidence Supports the Claims Administrator’s Interpretation

       The Expert Declarations and Briefs submitted by BP in support of final approval of the

Settlement refer to expenses and revenue over the same comparable time periods. For example,

BP submitted the Declaration of Holly Sharp with its Memorandum in Support of Final

Approval, in which BP confirmed that:

                  Once a business meets the causation requirements, for purposes of quantifying
                  causation, all revenue and variable profit declines during the claimant-selected
                  compensation period are presumed to be caused by the spill, with no analysis
                  required to determine whether the declines might have been due, at least in part,
                  to other causes. 43

       Similarly, BP’s expert James Henley explained that:
                  In addition to compensation for lost profits during the Compensation Period, …
                  claimants also receive an RTP multiplier…. 44

       And BP’s expert Henry Fishkind similarly noted that:
                  …projected earnings during a Claimant-selected post-DWH spill compensation
                  period are compared to actual earnings during that period and the difference is
                  deemed a compensable loss. 45

       In the Joint Proposed Findings, the Parties again confirmed that:
                  Once the causation tests are satisfied, all revenue and variable profit declines
                  during the Compensation Period are presumed to be caused entirely by the spill,

       43
          DECLARATION OF HOLLY SHARP [Doc 7441-18], p.10, ¶17; quoted in, BP’S MEMORANDUM IN SUPPORT
OF FINAL APPROVAL [Doc 7114-1], at p.33, (emphasis supplied).

       44
            HENLEY DECLARATION [Doc 7114-11], pp.24-25 ¶31 (emphasis supplied).
       45
            FISHKIND DECLARATION [Doc 7441-5], p.10, ¶31 (emphasis supplied).


                                                                                                   23
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                with no analysis of whether such declines were also traceable to other factors
                unrelated to the spill. 46

        Additionally, in his letter to the Claims Administrator of September 28, 2012, in which

BP strenuously objected to the averaging of either revenue or expenses from annual, semi-

annual or quarterly financial statements, Mr. Holstein, for BP, stated as follows:

                These documents [i.e. monthly profit and loss statements or alternate source
                documents establishing monthly revenue and expenses] are essential to
                implementing the BEL frameworks’ methodology of evaluating causation and
                damages based on the actual monthly financial experience of the claimants….

                                                *      *      *

                …. The entire BEL framework depends on the input of accurate monthly financial
                data -- …. Because the claimant’s actual monthly results are the foundation for
                the causation and compensation evaluations under the BEL framework, use of
                allocated proxy rather than actual data could severely distort the resulting
                outcomes. 47

        Perhaps the best support for the Claims Administrator’s interpretation is found in an e-

mail memorandum authored by BP’s counsel during the negotiations. In February 2012, after

much of the Compensation Framework had been reduced to what is now found in Exhibit 4C, a

dispute regarding the appropriate correlation of the Benchmark Period to the Compensation

Period threatened to sidetrack the deal. BP’s counsel authored a comprehensive memo which

traced the entire negotiating history. This memo consistently references the actual monthly cost

and revenue experienced in the Benchmark Period as compared to the actual monthly cost and

revenue experienced during the Compensation Period. Specifically, BP’s Counsel states that:

                The economics or accounting for determining a compensation amount for a post-
                spill loss is, in simplest terms, to compare the actual financial results during the

        46
       JOINT PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW IN SUPPORT OF FINAL
APPROVAL [Doc 7945], at ¶126, p.39 (emphasis supplied).
        47
         LETTER FROM MARK HOLSTEIN TO PATRICK JUNEAU (Sept. 28, 2012) (re: Sept. 25th Policy
Announcements), at p.2 (emphasis supplied).


                                                                                                   24
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                    defined loss period measured against the profit that the claimant might have or
                    should have been expected to earn in the comparable post-spill period of 2010. 48

The memo further notes that: “The word ‘comparable’ and the phrase ‘comparable months’ is

used throughout the document in the context of comparing the months selected by the Claimant

in 2010 to compare against the same months in the Benchmark Period,” 49 which further supports

the notion that the term “corresponding” within the definition of “Variable Profit” refers to a

comparable time period. Nowhere in the memo is there any suggestion that the determination

would be made by looking outside of the comparable time periods to “business activities” from

which such revenues may have been “earned” or to variable expenses which might “match” with

or “correspond” to the revenue. 50

         In a powerpoint prepared by the Program and presented to the Appeal Panelists in August

without objection by BP defines “Variable Profit” – not in terms of “matching” or

“corresponding” the expenses to the revenue, when “earned”, but – as the sum of monthly

revenue minus variable expenses from revenue “over the same time period”. 51

         Despite the exchange of numerous Examples during negotiations, BP never suggested

that the Compensation Framework be applied in the manner BP is now suggesting. 52


         48
              MEMO VIA E-MAIL FROM ROCK GODFREY TO RICE AND FAYARD (Feb. 17, 2012), No.3 (emphasis in
original).
         49
              MEMO VIA E-MAIL FROM ROCK GODFREY TO RICE AND FAYARD (Feb. 17, 2012), No.10(a) (emphasis in
original).
         50
              See also, generally, DECLARATION OF ROBERT WALLACE (Feb. 18, 2013).
         51
              Deepwater Horizon Claims Center, APPEAL PANEL TRAINING, “General BEL” (Aug. 20, 2012).

         52
           BP claims that none of the Test Cases presented the types of “spikes” in revenue that BP is now
observing in, for example, construction, agriculture and professional claims. This, however, is not correct. For
example, Test Case No. 72 was a construction claim, which was correctly processed at $191,733 in accordance with
the Claims Administrator’s interpretation. Not only did BP not suggest during the testing period that the Settlement
Agreement had been mis-applied, but BP did not appeal the actual award and payment made by the Settlement
Program. See DECLARATION OF JOHN TOMLINSON (Feb. 18, 2013) (with summaries of TEST CASES NOS. 13, 20, 71
and 72); see also, WALLACE DECLARATION, ¶5.

                                                                                                                 25
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       Similarly, a number of Test Claims were provided by the Parties to the Program, who ran

them thru the algorithms that had been established by the Program to implement and apply the

Settlement Agreement. BP confirmed that these Test Cases were processed correctly, and never

suggested that the Program was mis-interpreting the Compensation Framework nor that the

process needed to be adjusted.


BP Takes the Claims Administrator’s Prior Statement regarding Cash Basis Profit and
Loss Statements Out of Context

       On or around September 16, 2012, Class Counsel suggested to the Claims Administrator

that smaller businesses who had not maintained monthly profit & loss statements in the ordinary

course of business should be able to average their monthly costs and expenses from quarterly,

annual or semi-annual profit & loss statements. 53

       BP, as noted supra, strenuously opposed this.

       When the Claims Administrator issued his initial Policy Statement on September 25,

2012, he issued an associated policy that claimants who had kept their books on an Accrual Basis

in the ordinary course of business would not be able to re-state their books to create monthly

P&Ls under a Cash Basis method of accounting. 54

       Notably, the Claims Administrator did not in any way suggest that a company who kept

monthly P&Ls on a Cash Basis in the ordinary course of business could not or should not submit

those Cash Basis P&Ls to the Program.




       53
        MEMO FROM CLASS COUNSEL TO CLAIMS ADMINISTRATOR RE MONTHLY PROFIT & LOSS
DOCUMENTATION (Sept. 19, 2012).
       54
         See Claims Administrator’s ANNOUNCEMENT OF POLICY DECISIONS REGARDING CLAIMS
ADMINISTRATION (Sept. 25, 2012), ¶1(c).


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         Nevertheless, and in any event, Class Counsel took the position that the Claims

Administrator had erred, and that the Settlement Agreement generally allowed the claimant to

submit their monthly costs and revenue on either a Cash or Accrual basis, whichever was more

favorable. 55

         BP, by contrast, agreed “with the Claims Administrator that a claimant that maintained

P&Ls on an accrual basis is not permitted to restate them to cash-basis financial statements.” 56

         Therefore, the Claims Administrator’s comment that “restatement could result in a loss or

a greater loss not related to the Spill but instead as a result only of the timing of cash received” in

the final Policy Statement of October 8, 2012, 57 was made in the context of prohibiting the re-

statement of contemporaneously prepared P&Ls into financials created solely for the purposes of

the Settlement. Such policy did not, as noted, suggest that either the Claimant or the Program

would be prohibited from relying on financials contemporaneously prepared on a Cash Basis.

         Nor did BP, at that time, argue that Claimants should be prevented from submitting Cash

Basis P&Ls prepared in the ordinary course of business. 58 Nor that companies with Cash Basis

financials should be evaluated under a different framework or methodology.

         The Settlement Agreement, as currently interpreted, takes all Class Members as it finds

them, and applies a uniform and objective set of frameworks to determine causation and

compensation of losses that are deemed to be caused by the Spill.

         55
              See MEMO FROM CLASS COUNSEL TO THE CLAIMS ADMINISTRATOR (Sept. 28, 2012), at pp.1-4.
         56
         LETTER FROM MARK HOLSTEIN TO PATRICK JUNEAU (Sept. 28, 2012) (re: Sept. 25th Policy
Announcements), at p.3.
         57
            Claims Administrator’s REVIEW AND CLARIFICATION OF SELECTED POLICY STATEMENTS (Oct. 8, 2012),
¶1(c), at p.2.
         58
            Indeed, BP insisted that if a claimant were to re-state from Cash to Accrual, it would still have to “(1)
provide a copy of the original cash-basis financial statements and (2) briefly describe the methodology used to
prepare the restated financial statements.” LETTER FROM MARK HOLSTEIN TO PATRICK JUNEAU (Sept. 28, 2012) (re:
Sept. 25th Policy Announcements), at p.3.

                                                                                                                  27
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The Claims Administrator’s Interpretation Does Not Cause the Settlement Agreement to
“Discriminate” Between Similarly Situated Class Members Solely Based on Whether they
Kept their Books on a Cash or Accrual Basis

         Contrary to BP’s contention that the Claims Administrator’s current interpretation

somehow creates some type of “discrimination” among similarly situated Class Members based

solely upon whether they kept their books on a Cash or Accrual basis:

                  1. The BEL Frameworks take all businesses as they find them, and uniformly
                     applies the objective methodologies to all members of the Settlement Class; 59

                  2. As a practical matter, businesses that are similar in size and nature will
                     generally keep their books in the same way; 60 and

                  3. The potential “discrimination” (if any) is not found in the Settlement
                     Agreement, but in an administrative interpretation. (And, indeed, an
                     administrative interpretation that was supported by BP, over Class Counsel’s
                     objection.)

         The Claims Administrator’s previous comment regarding the potential re-statement of

Accrual to Cash financials does not in any way compel the interpretation of “Variable Profit”

within the Compensation Framework that BP is suggesting, nor dictate the adoption of one or

more of the compromise “solutions” that BP advances.




         59
           Similarly situated Class Members may ultimately recover different amounts under the Settlement
because they were better able to document their losses, (which is also likely true in litigation). But the entire Class
was provided with a common and uniform set of objective and transparent requirements and criteria under which –
assuming they decided to remain in the Class – their claims would be evaluated and paid.
         60
             For example, most plaintiff law firms, and other professional service companies, are going to keep their
books on a Cash Basis. Similarly, most similarly situated construction companies, depending on their size, (and/or
the size of their projects), are going to keep their books on either a Cash or a Percentage-of-Completion basis.

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Neither BP’s Interpretation of the Settlement Agreement Nor BP’s Proposed Compromise
“Solutions” Are Supported by General Accounting Principles

        Class Counsel address the accounting issues raised by BP in the expert Declarations of

Dr. Mark Kohlbeck and George Panzeca, as well as Robert Wallace, who was present during the

negotiations, and the previously submitted Affidavits of Allen Carroll, Harold Asher and Rick

Stutes. 61

        As noted supra, BP’s own expert concedes that there is no specific definition of “variable

profit” in GAAP. 62

        Moreover, it is clear that the Parties did not intend to incorporate GAAP definitions of

“Variable Profit” or other terms, as evidenced by the formal amendment of the Settlement

Agreement to eliminate the requirement of CPAs to certify that the claims were submitted in

conformity with GAAP in order to qualify for the Accountant Reimbursement Compensation. 63

Specifically, for example:

              o The Settlement Agreement’s definition of operating expense items as either
                “Fixed” or “Variable” were negotiated by the Parties, independent of how such
                expense items would be classified under GAAP;

              o The Settlement Agreement’s treatment of Payroll Expenses was negotiated by the
                Parties, independent of how such expense items would be treated under GAAP;
                and,

              o The Settlement Agreement includes negotiated minimum and maximum Growth
                Factors, which are independent of how projected revenues and expenses would be
                projected (and limited) under GAAP.

        At the same time, the Claimant-friendly process was not envisioned or intended to

preclude numerous companies who keep their records on a Cash, Regulatory, Tax or Contractual
        61
           Mr. Carroll, who was present for the Court-ordered mediation session, has also submitted a Supplemental
Declaration.
        62
             See OUSTALNIOL SUPPLEMENTAL DECLARATION (Feb. 2, 2013), ¶26.
        63
           Compare Section 4.4.13.4 in the original Settlement Agreement [Doc 6276-1] (April 18, 2012), with,
Section 4.4.13.4 within AMENDMENT NO. 1 [Doc 6414-6] (May 2, 2012).

                                                                                                                29
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Basis from making claims under the Settlement Program, nor to require them to undertake

significant, complex, expensive and somewhat subjective efforts to re-state all of their

contemporaneously maintained financials. 64

        Quite simply, the quantification of a business’ “variable profits” under Generally

Accepted Accounting Principles would not be conducted as set forth in the Business Economic

Loss Framework nor as set forth in one or more of BP’s proffered compromise “solution”

proposals.

        Moreover, since matching is generally achieved by employing GAAP rules, if the

claimant submitted GAAP-compliant P&Ls, there is certainly no basis to require an additional

step of “matching” under the Settlement Framework. Indeed, to alter either the revenue or

“match” expenses on Accrual-Based financials – as BP suggests – would violate GAAP and take

such statements out of compliance. BP, in this regard, has appealed accrual-based claims, and

the BP proposed “solutions” would drastically change, at the very least, the claims of

construction companies with financials prepared under GAAP in the ordinary course of business.

        Significantly, BP’s most recent proposed compromise “solutions” make it clear that BP

proposes to “smooth” or “average” what BP considers to be “spikes” in revenue based on when

BP contends that such revenue may have been “earned” according to the timing of work

performed or other “business activity”. This is quite different from the notion that variable

expenses should “match” (or “correspond”) to the Benchmark or Compensation Period revenue –

either under BP’s proffered interpretation of the Settlement Agreement or under GAAP. While

GAAP, in some instances, would call for a company to recognize expenses in a different month



        64
           See, e.g., PANZECA DECLARATION ¶14 (“The vast majority of businesses do not prepare financial
statements in accordance with GAAP…. The cash basis and the tax basis methods are the most prevalent in
accounting practice”); see also, KOHLBECK DECLARATION, ¶2; WALLACE DECLARATION ¶8.

                                                                                                           30
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from when such expenses were actually paid, GAAP would not generally require or allow a

business to “smooth” or “average” its revenue.

       Under GAAP, revenues are generally recognized when two conditions have been met: (1)

the revenues are realized or realizable (company has exchanged goods and/or services for cash,

receivables, or other assets readily convertible to those); and (2) the revenue has been earned (i.e.

the company has done what it needs to do to be entitled to the revenue). For companies with

manufacturing or selling activities, these two conditions are generally met at the point of

sale/delivery. This is the point in time where most uncertainties are removed and the sales price

is known. This is basic accrual accounting.

       Under this method, expenses generally follow the revenues; not the other way around.

Expenses are recognized when obligations are (1) incurred (usually when goods are transferred

or services rendered, e.g. sold), and (2) offset against recognized revenues, which were generated

from those expenses (related on the cause-and-effect basis), no matter when cash is paid out. A

retailer who keeps its books on an accrual basis has to use an inventory method which delays the

recognition of the cost of goods sold (COGS) expense until the good is sold. It does not move

revenue to assume it was “earned” when an inventory item was purchased.

       BP’s proposal to move revenue to “match” expenses (or other “business activity”) is

backwards and violates GAAP in these respects. The formula would also artificially assign

revenue to non-revenue-producing expenses. Assuming, for example, that a claimant had a

significant repair expense in a given month, BP would force the Program to assign revenue to

that event where none existed.

       For construction companies, GAAP requires the recognition of revenue as the project

reaches different stages, but only for long-term projects. On a case-by-case basis, the company



                                                                                                  31
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would recognize revenue based on the percentage of the project that was complete. Under the

percentage-of-completion method, revenue for the period is recognized based on the actual costs

incurred as a percentage of the total estimated costs. This is done on a contract-by-contract,

project-by-project basis. Further, the recognition of revenue only “matches” expenses in a loose

sense. There is no one-to-one matching, and specific expenses do not have revenue artificially

assigned to them.

        BP advocates the assignment of revenue to all expenses incurred, regardless of whether

they are job-related, and would apply to same profit percentage to each job. Assume the

contractor self-performs a large part of his work and did not lay off his crew in the initial months

following the spill. BP would assign revenue for the post-spill period where revenue was lacking

by moving revenue from pre-spill months to “match” the expenses. The proposed formula

would also move revenue from the pre-spill January-to-April period of 2010 if the contractor had

higher profit percentages during that period. This methodology has no support under GAAP.


The Accounting Textbook that BP Relies on Has Been Revised to Delete the Section on
“Matching”

        BP cites the Tenth Edition of the Kieso textbook on INTERMEDIATE ACCOUNTING for the

proposition you have to “synchronize the revenues earned with the corresponding expenses

incurred.” 65 This old edition of the textbook has an entire section on matching. The Thirteenth

Edition of the textbook, however, refers to matching only in a footnote, in which the authors

acknowledge that “there is some debate about the conceptual validity of the matching

principle.” 66


        65
             See BP Draft Motion to Reconsider, at p.6.
        66
          Kieso, Weygandt & Warfield, INTERMEDIATE ACCOUNTING (13th Ed.), at p.45 n.13; see also, KOHLBECK
DECLARATION ¶8 (“In older financial accounting textbooks (e.g., Kieso, Weygandt & Warfield, Intermediate
Accounting 10th Ed.), the idea of matching was commonly stated as an accounting principle. Over a decade ago,

                                                                                                           32
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BP’s Proposed Compromise “Solutions” Make Clear That the Parties never Intended the
Settlement Agreement to be Interpreted as BP Now Suggests 67

        It is telling that BP is only in the preliminary stages of developing the methodology it

claims was intended all along. According the Sider Declaration, BP’s proposed “triggers” are

preliminary and intended as a “starting point.” 68 Yet, these triggers affect not only agricultural

and professional services claims, but also core tourism businesses that were unquestionably a

focus of the negotiation, including nearly a quarter (22%) of hotel/motel claims and 14% of

bar/restaurant claims. 69

        Similarly, BP has only a “preliminary version” of a methodology for some claims, 70 and

no methodology at all yet for others. 71

        Noticeably absent from BP’s submission are any specific examples of how BP’s

methodology would be applied, and the Sider Declaration concedes that this is in part because in

many cases the necessary documentation is “not readily available” or unspecified “claim-specific

review” would be needed to determine a compensation amount. 72




the profession's thinking evolved and concluded that matching is not an accounting principle. More recent editions
of financial accounting textbooks (e.g., Kieso, Weygandt & Warfield, Intermediate Accounting 14th Ed.) emphasize
the conceptual framework as a foundation and do not indicate matching as an accounting principle”).
        67
          See generally, WHAT BP’S EXPERTS WANT: Summary of Declarations Submitted by BP in Support of
BP’s February 3, 2013 Motion for Reconsideration.
        68
             SIDER DECLARATION (Feb. 2, 2013), at ¶ 27.
        69
             See SIDER DECLARATION (Feb. 2, 2013), at ¶29.
        70
             See SIDER DECLARATION (Feb. 2, 2013), at ¶33.
        71
             See SIDER DECLARATION (Feb. 2, 2013), at ¶34 (methodology not yet available to address “spikes” in
revenue).
        72
             See SIDER DECLARATION (Feb. 2, 2013), at ¶¶ 35-36.


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       There are a number of subjective determinations referenced in the Sider declaration,

including use of a “crop year” and a “production year” which could conceivable vary, and use of

various ratios to “approximate” or “estimate” matched monthly revenues and expenses. There

also appear to be other subjective standards in the works, such as valuing the work performed on

particular matters in a given month by businesses that do not keep hourly time logs showing

what work was done when. 73

       Although BP claims it has an objective, workable methodology, there is no evidence

that’s the case, or it would have put examples of the results of its interpretation next to the

examples of the results of the current process.

       It’s notable that one of BP’s declarants appears not to have read the Agreement (it’s not

listed among his materials relied upon and a footnote referencing “classification issues” with

fixed and variable costs suggests unfamiliarity), yet is opining on whether BP’s proposal changes

the Agreement’s terms. 74 He does at least admit, however, that key issues regarding whether

BP’s approach is subjective, unworkable, and would create two separate evaluation models for

BEL claims are legal issues he’s not qualified to address. 75

       BP’s proposal, if adopted, would also cause significant interruption to the Settlement

Program. In addition to the inquiries that the Program Vendors would have to make of claimants

for additional documents and information, the Program would have to go back and re-calculate

thousands of claims. In addition, the Program would also have to go back and apply a different

Causation test both with respect to previously Eligible and previously Denied claims. Before

any of that could commence, the entire BEL Causation and Compensation algorithms would

       73
            See SIDER DECLARATION (Feb. 2, 2013), at ¶¶ 34-39.
       74
            See OUSTALNIOL SUPPLEMENTAL DECLARATION (Feb. 2, 2013) ¶¶ 4, 32 n.16, 33 & Appendix A.
       75
            See OUSTALNIOL SUPPLEMENTAL DECLARATION (Feb. 2, 2013) ¶¶ 11.

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have to be re-programmed and re-tested. And the Claims Administrator would likely have to

hire and train different and additional staff.

        Finally, the Court would be flooded with motions, objections and appeals by Class

Members who will contend that they relied upon the Class Notice and express terms of the

Settlement Agreement, as well as representations by both Class Counsel and BP, which have

now, as a result of a post hoc change in the Settlement Agreement, resulted in a denial of Due

Process. 76


Where Are BP’s Experts Who Supported Approval of the Settlement ?

        In support of Settlement Approval, BP submitted the Expert Declarations of James

Henley, James Richardson, Holly Sharp and Henry Fishkind, who each opined on the fairness

and adequacy of the objective BEL Frameworks. 77 Where are these experts now?


BP Offered No Workable Objective Framework (either Consistent with the Settlement
Agreement or Otherwise) during the Court-Ordered Mediation
        BP has yet to provide any proposal with any objective, quantifiable rules or formulas that

would allow class members to determine how their claims would be calculated. Instead, BP has


        76
            See, e.g., ORDER AND REASONS GRANTING FINAL APPROVAL OF THE ECONOMIC AND PROPERTY
DAMAGES SETTLEMENT AGREEMENT [Doc 8138] (Dec. 21, 2012), at p.31 (“All class members…are protected by
specific, detailed and objective frameworks that were promulgated publicly by the Court during the preliminary
approval process after the parties had negotiated those frameworks”); p.87 (“Any claimant in any zone can recover
if the claimant can establish causation and damages according to clearly defined criteria supported by objective
economic data”); pp.110-111 (“the Settlement Agreement is designed to be transparent as a claimant or his or her
counsel reviews the frameworks relevant to particular circumstances, but also sufficiently detailed to ensure that
determinations made by the Settlement Program are objective, consistent, and predictable”); see generally,
EXCERPTS FROM PRELIMINARY APPROVAL HEARING TRANSCRIPT; EXCERPTS FROM BP’S MEMORANDUM IN SUPPORT
OF FINAL APPROVAL; EXCERPTS FROM DECLARATIONS IN SUPPORT OF BP’S MOTION FOR FINAL APPROVAL;
EXCERPTS FROM FINAL APPROVAL HEARING TRANSCRIPT; AFFIDAVIT OF HAROLD ASHER (Jan. 15, 2013) ¶¶ 4-5, 9-
10, 17; DECLARATION OF RICK STUTES (Jan. 17, 2013) ¶¶ 4-6, 8-9, 13-14; SUPPLEMENTAL DECLARATION OF ALLEN
CARROLL (Feb. 18, 2013), ¶¶ 2, 4; DECLARATION OF GEORGE PANZECA (Feb. 18, 2013), ¶¶ 3, 12, 23, 26;
DECLARATION OF ROBERT WALLACE (Feb. 18, 2013), ¶¶ 1, 9-12; see also, e.g., E-MAIL TO CLASS COUNSEL FROM
MARY BETH MANTIPLY (Feb. 16, 2013).

        77
             See EXCERPTS FROM DECLARATIONS IN SUPPORT OF BP’S MOTION FOR FINAL APPROVAL.

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submitted ad hoc examples and hypothetical scenarios reflecting its views on how revenue

should be “smoothed” and/or otherwise “matched” to expenses. 78

        Throughout the mediation of this matter, it became apparent that BP was not prepared to

offer a defined proposal for the implementation of what it claims was a negotiated term. Phrases

like “refine further” “tweak” and “a work in progress” were consistently used by BP to describe

its proposals. Had a matching process been intended by the Parties, it would have been

negotiated and memorialized prior to the submission of the Settlement Agreement to the Court

for approval and the issuance of formal Notice to the Class. BP’s undeveloped and half-baked

proposals definitively show that its position is not simply a matter of interpretation but an

attempt to negotiate a completely new settlement.

        From what Class Counsel can determine, BP’s proposal cannot be implemented within

the bounds of the Settlement Agreement. BP’s proposal would replace actual objective financial

conditions as reflected in contemporaneous records with subjective determinations about when

revenue was “earned” and/or with what expenses such revenue should be “matched”. BP’s

proposal would expand the time period and scope of potentially relevant source documents to an

indefinite body of information and records stretching back before the Benchmark Period and

right up to the present.

        Consider the following examples offered by BP:

        Under BP’s proposal for a Construction Company, the Claims Administrator would be

required to match revenue to expenses by obtaining job schedules so that revenue earned could

be spread throughout the time period of the job. Thus, if a construction company received


        78
           Two experts appeared with Class Counsel at the Court-ordered mediation session, and have provided the
Court with comments regarding the compromise “solutions” proposed by BP during the mediation. See generally,
SUPPLEMENTAL DECLARATION OF ALLEN CARROLL (Feb. 18, 2013); DECLARATION OF GEORGE PANZECA (Feb. 18,
2013).

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revenue in 2007 a 3-year job, the program would be required to obtain job schedules, expenses

and tax returns dated back to 2004. Such a requirement is not contemplated anywhere in the

agreement.

         For professional services firms, BP’s proposal goes even further. If a law firm, for

example, received a contingency fee in a six-year-old case 2007, it would be required to provide

to the Claims Administrator an accounting dating back to 2001 of the hours worked, by month,

on the case. (It should be noted, in this instance, that BP is not “matching” revenue to expenses,

but is instead simply “smoothing” out revenue over the time spent on a mater.) These types of

inquiries go well beyond the BP-approved Claim Form and the Documentation Requirements set

forth in the Settlement Agreement. 79

         BP’s proposal would also largely eviscerate the Causation Framework, Exhibit 4B. One

of the fundamental principles of the entire Settlement Agreement would be “interpreted” out of

the agreement if the Claims Administrator were to apply in the way that BP proposes. The

Causation testing in Exhibit 4B was intended to be measured by Total Revenues. It was intended

to be a simple test through which a Class Member could quickly determine whether he would be

eligible for compensation. Expenses are not, and never have been, considered in the Causation

analysis. BP’s current proposals, however, would require the Claims Administrator to “match”

revenues to expenses (by “smoothing” out the revenues) before causation testing is performed.

In addition to the fact that this was clearly not intended, Causation testing would also become far

more complex and expensive from an accounting standpoint. A class member could not longer



         79
            The law firm example leads to even more absurd results where a case that was generated during the
Benchmark and/or Compensation Period is still ongoing. The Claims Administrator would be required to place a
value on the case so that, in BP’s proposal, “revenue earned” could be spread over the life of the case based on effort
expended. Not only is there no basis for such an inherently subjective determination in the Settlement Agreement,
but such proposal would clearly violate the applicable accounting standards, and would be ethically questionable for
the law firm.

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simply determine its total revenue in a the selected three months, but would be required to do the

following: 1) run the yet-undetermined analysis to see if it triggers a threshold requiring BP’s

proposed revenue smoothing; 2) compile expenses, job schedules, hours billed, etc., on each

matter on which revenue was earned as far back as may be required; 3) value work performed on

which payment has yet to be received; 4) perform the yet-undetermined spreading of revenue

over the requisite months; 5) select the three-consecutive months for the causation test; and 6)

determine if causation is met. Not only does this go far beyond what was ever negotiated or

agreed to, but it calls for subjective determinations, such that a Class Member could go through

that entire process and come to a different conclusion than the Settlement Program.


       This is not what was negotiated, agreed, submitted, noticed to the class, nor approved.




                                                                                                   38
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                                               Conclusion
          BP’s counsel perhaps said it best:

                        One of the cornerstones of the Settlement Agreement is the use of
                 transparent, objective, data-driven methodologies designed to apply clearly-
                 defined standards to a claimant’s contemporaneously-maintained financial data
                 submitted in compliance with documentation requirements. These methodologies
                 and requirements were carefully negotiated by the parties and are set forth in the
                 Settlement Agreement as mandatory requirements. Among other reasons, these
                 methodologies and requirements were negotiated in response to concerns voiced
                 by some that the prior GCCF process was too dependent on accounting judgments
                 that were not transparent.
                        ….The Settlement Agreement does not allow for the use of professional
                 judgment or discretion as a substitute for expressly articulated standards or
                 requirements….
                         …. Because the claimant’s actual monthly results are the foundation for
                 the causation and compensation evaluations under the BEL framework, use of
                 allocated proxy rather than actual data could severely distort the resulting
                 outcomes. 80

                                                 *    *    *

                         ….If the accurate financial data establish that the claimant satisfies the
                 BEL causation requirement, then all losses calculated in accord with Exhibit 4C
                 are presumed to be attributable to the Oil Spill.
                         Nothing in the BEL Causation Framework (Ex. 4B) or Compensation
                 Framework (Ex. 4C) provides for an offset where the claimant firm’s revenue
                 decline (and recovery, if applicable) satisfies the causation test but extraneous
                 non-fictional data indicate that the decline was attributable to a factor wholly
                 unrelated to the Oil Spill. Such “false positives” are an inevitable concomitant of
                 an objective quantitative, data-based test. 81

          For these reasons, for the reasons set forth by the Claims Administrator, and for the

conclusions previously reached by Your Honor, BP’s Motion for Reconsideration should be

denied.



          80
         LETTER FROM MARK HOLSTEIN TO PATRICK JUNEAU (Sept. 28, 2012) (re: Sept. 25th Policy
Announcements), at p.2 (emphasis supplied).
          81
           LETTER FROM MARK HOLSTEIN TO PATRICK JUNEAU (Sept. 28, 2012) (re: Issues Raised by Class
Counsel or Settlement Program), at pp.1,3 (emphasis supplied).

                                                                                                      39
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                                      EXHIBITS

                                 Submitted by Class Counsel
                   in Support of the Claims Administrator’s Interpretation
                    and in Opposition to BP’s Motion for Reconsideration



 1. SETTLEMENT AGREEMENT, BEL Compensation Framework, Exhibit 4C

 2. SETTLEMENT AGREEMENT, BEL Documentation Requirements, Exhibit 4A

 3. MEMO VIA E-MAIL FROM RICK GODFREY TO RICE AND FAYARD (Feb. 17, 2012).

 4. EXCERPTS FROM PRELIMINARY APPROVAL HEARING TRANSCRIPT

 5. EXCERPTS FROM BP’S MEMORANDUM IN SUPPORT OF FINAL APPROVAL

 6. EXCERPTS FROM DECLARATIONS IN SUPPORT OF BP’S MOTION FOR FINAL APPROVAL

 7. DECLARATION OF HOLLY SHARP [Doc 7441-18], p.10.

 8. Deepwater Horizon Claims Center, APPEAL PANEL TRAINING, “General BEL”
    (Aug. 20, 2012)

 9. MEMO FROM CLASS COUNSEL TO CLAIMS ADMINISTRATOR RE MONTHLY PROFIT & LOSS
    DOCUMENTATION (Sept. 19, 2012)

 10. Claims Administrator’s ANNOUNCEMENT OF POLICY DECISIONS REGARDING CLAIMS
     ADMINISTRATION (Sept. 25, 2012)

 11. MIKE JUNEAU E-MAIL TO THE PARTIES RE INPUT ON ALTERNATE CAUSATION
     (Sept. 25, 2012)

 12. HOLSTEIN LETTER TO CLAIMS ADMINISTRATOR (Sept. 28, 2012) (re: Issues Raised by
     Class Counsel or Settlement Program)

 13. HOLSTEIN LETTER TO CLAIMS ADMINISTRATOR (Sept. 28, 2012) (re: Sept. 25th Policy
     Announcements)

 14. MEMO FROM CLASS COUNSEL TO CLAIMS ADMINISTRATOR RE SEPT. 25TH POLICY
     ANNOUNCEMENTS (Sept. 28, 2012)

 15. Claims Administrator’s REVIEW AND CLARIFICATION OF SELECTED POLICY STATEMENTS
     (Oct. 8, 2012)


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 16. Claims Administrator’s ANNOUNCEMENT OF POLICY DECISIONS REGARDING CLAIMS
     ADMINISTRATION (Oct. 10, 2012)

 17. EXCERPTS FROM FINAL APPROVAL HEARING TRANSCRIPT

 18. JOINT PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW IN SUPPORT OF FINAL
     APPROVAL [Doc 7945], p.39.

 19. E-MAIL FROM DAN CANTOR TO MIKE JUNEAU RE: “ACCOUNTANT QUESTIONS”
     (Dec. 11, 2012)

 20. E-MAIL FROM JUDGE BARBIER RE “MEETING TODAY RE NON-PROFITS AND SIP”
     (Dec. 12, 2012)

 21. Claims Administrator’s ANNOUNCEMENT OF POLICY DECISIONS (Jan. 15, 2013)

 22. DECLARATION OF ALLEN CARROLL (Jan. 16, 2013)
          Ex. A - RECOGNITION OF REVENUE AND GAINS, under FASB Statement No. 5
          Ex. B – Wilder and Dickinson, ACCOUNTING RULES FOR CONTINGENT FEE
                  RECOGNITION

 23. AFFIDAVIT OF HAROLD ASHER (Jan. 15, 2013)

 24. DECLARATION OF RICK STUTES (Jan. 17, 2013)

 25. DECLARATION OF DR. MARK KOHLBECK, CPA (Feb. 18, 2013)

 26. Kein, Weygandt & Warfield, “Recognition and Measurement Concepts” INTERMEDIATE
     ACCOUNTING (13th ed.), pp.39-51.

 27. WHAT BP’S EXPERTS WANT: Summary of Declarations Submitted by BP in Support of
     BP’s February 3, 2013 Motion for Reconsideration,

 28. E-MAIL TO CLASS COUNSEL FROM MARY BETH MANTIPLY (Feb. 16, 2013)

 29. DECLARATION OF ROBERT WALLACE (“Wally”) (Feb. 18, 2013)

 30. DECLARATION OF GEORGE PANZECA (Feb. 18, 2013)

 31. DECLARATION OF JOHN TOMLINSON (Feb. 18, 2013)
        - Test Case No. 13
        - Test Case No. 20
        - Test Case No. 71
        - Test Case No. 72

 32. SUPPLEMENTAL DECLARATION OF ALLEN CARROLL (Feb. 18, 2013)

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